UNITED STATES DISTRICT COURT
EASTERN MSTRICT OF TENNESSER
AY GREENEVILLE

UNITED SUATES OF AMBLICA.

Mazii-cR- 5 | _
LEAT; CMRD EASY

DUSTIN TRENDELL LONG,
Also Loman a4.“ De LAYS

!
1
I
i
PLEA AGREEMENT
The Ustited Sires: Or Merci. Oy the Linited Slates: Adtommey liar ihe Eashecn intrfuh aL
bennessce. tnd Gusti Trenebell org, sale Knee ie]. Long,” hes Rer fhe “detiaudin,””, ware
lhe deledent's attumey. Dein Sinith, Ieeve awreed upoc the follewinge:
I. The defénetant will waive indictment and anmiiriment anid ples exnlty wan
liikirniaticer charehie the defenkent withlbe Ta Llewein allemscs,
a Citi Une. Disttibutens of a quantity of ceeding. ia violation of ae! ge
Baal anid PET EY.
The plaishment (tir this alfense is ae (iliawes:
I leaprsermner L ty Bia race Lane Nb ara
Oo, fine nf ee Tava Thao ST OT,
a) oA ler, ol supervised: réjease GL atleast 5 years. ui tad (ile. tinal
4) A STNG, Taadidlatery special aetessineny foe:
= In constlention éCihe defendant's surlo pleas, de Uloied States aurces ter THE Te

Tver al dhe die ov) senteneing 1 iligmiss ihe Supersedine Lidheinend uy gues 3) Rae:

 

Sess:

3 De defendant hasread the tilviinuion, discissed the cha nuit ame possible ¢
with dotsisc ceninse|. Wd inderstndy tbe crime clerged. Specifically, the elements cf the cil hers

re ae Thos:

Case 2:20-cr-00051-RLJ-CRW Document 2 Filed 04/09/20 Page 1of8 PagelD #: 3
 

ehedule 0

 

si} The detondant kermwinely diiediled 1 qpuandily oPoraine. a:

résitedd stbeeuies, and

 

 

TRU Han thin] (be subsite was a

 

by Thedetendant bnew ot ake tine of dis

vontrelled aubstaince.

  

A, fre suppers uf the detisndded’s.cetiliy pili, the defendant aerees ail stipulates be abe
following Joos. which datisly the oflense deaieuis. These aretha laets crbriiited or purpases nf the:
delemdant’s poilty plea, They dp net necessarily consti all of ihe thers iv rhe case, Calier dats.

 

      

flay he relevant te semen rus Both the deléadaint and dee Lnited States repiiu thee: whl Go piesenl

 

ditional foteii he Curt \ocnsure a fab and uppropriaié sentence ov this cane

fie day GL oP 203. the Federtil Bhirceu of lavestivation ard the Johnsyn Ciy

ele

 

Polis Deparimient heean an inveslivation fal drug traficking, fimeasins
oflanses, antl related yams ae iivities indahmson( ity: The levestisaliot
iter bed ihe dvfendunl ssa possible Lingel, and Investigaiors bewan 1h

moiiordike defendant's decivitres in 2013. Investigators Jeanne Lhiaat the

defendant has a prior Melony conviction Jr Possession ola Sobodele UI

 

eoniiliod subslanee in Washinated County Poa SUH

 

enitviction dare of September S; 2Mht.

Ii} Runtiz Tee velit, TneveRU ei Lcirs Ganthicled geyeral carititelleih ity

 

Fram persdns dsacciated witl the deter. As the inivesh tgs Jair amined,
nailtiple informatts identif fied the deleilain a pa aE se Dine ux syle:

ei The defiswlant gdmits dvai during the dime-perind allows! tn Ihe Iolisceaticin:
That-ha was isi hettys gpaciralTii ies of coenins to fiers and asacerales in dhe

dudnisens City, DM

a.

Case 2:20-cr-00051-RLJ-CRW Document 2 Filed 04/09/20 Page 2of8 PagelD #: 4

 
ay Par purpeasiss af tres plas at URE, the delendant agrees 2 and slipulales thai
ie distributed inti dha 24h, her hess cher. THth 2 fran u Ceocaine on (Hedaies
ta doril ire the Belem,

4. The delondant t¢ pleading quilty becuuse the defendant i tm dat guily, The

 

fet is etvinw up several cichis, inclidine:

 

 

al lhe delhi tn be indicted by a iranid fury hor Thisse ottoiess
iy “the. rights Dlewd ner geile
“a the right ta speedssund public mil hy jarg:

lhe right lo aseisienee of counsel at tid:

Th

e the Tht tx be prevemed tnocertl und te tewe ube burdety at prvat placed eri

 

‘the: Liviited Slates to giteé the detinwiant wuiles bein 9 reascmalte denthe:

ithe disfziirlnt:

   

ihe nicht to ennftendand cress-cxda: wilnesss 2

HH the Mahl i testify on tne's om heball, to present esidenes sri vppositian ie

the thirges. and ty.ccnpel ibe attendance af witnesses: aiid

 

kl thes -ciole reed ler testy and in have then choied net udedaesingt the delemdent

 

 

a Che qaitties agree: that the uppraprate dispoeilion of this cise would be ihe Oollawdng

 

 

cal The (eurd may ieipnse any bev ful tertilst af HilpTiseMMlenl ane [wll
fine(s}auid arty lewtul lecmnfsok supelvised rélesse opt by dhe stations
WRIA TEMES

Th The Coarl yall nnpost specisl assesment feesay raguinal by king ond

gf The Court nies onter (nriéitwe a4 upplicdble and resitnlow a: Typrapriate.

dat

Case 2:20-cr-00051-RLJ-CRW Document 2 Filed 04/09/20 Page 30f8 PagelD#:5

 

 
Ne pirtimises luis becn apache by unig tepesnlalive it Wis Dine! Attest the delsridam az is dots

the enteric: will | int (big tase, Any eslimiles or predictions made in the é deleriiunr by defizies:

cscudiiel etany ullwr perso resurding ary pntcoilal sentence in this ease are wor bineling on le

  

Cit aod wity ae he ised as a beis to reseind this plen laeeeinen or withdnpy we devant
z uilt ty pleats), Tle lelendone understands thal the seniens ioe Eh His case ill be deverievined iy ive

“cain, adter i receives ihe é presenlence anvulieaticor repert rani the Utibed Stes Prebatien ities

mens

  

pid any Talanbation proacnied hy the purties, [he defisndant acknowledues shat tlie i seri
eerninader wll be bused iipoe Uke ening gecipe oF Ihe defendant's criminal comet, the,

fenciny s cHininal histety, amd pursue oy other uices and iilelines gases Sheil iy tht

 

 

 

Penlonci by Guidelines aml the faciony set forth in 18 1A, §
F, ‘iy ert the defimdarit™s apTecniend to plead watlin. ihe United Sates will aot upposeo

iwithevel tedbetion for pcéentanes of’ tespanstbliit 4 pdr tke preowisiens oP Seetion 3ST Wat ad the

 

Humencing, ¢ Fea es Further, ithe dated:

ants ofense tovel ig [é orensater: and the delindant a
warded (be bwe-bewl ceduction Plesk ln Socticny FEL Lal, Ins Linitedt Slven wines tee maven ul

12 ine wCatiteneing. the Onur io deonsase the offense level by evils additional level

  

PUESLLL 20 Auction 311.1 of ihe Sentence ins Cuocediues, Should whe del endian it ene La ary.

canbe Gr DARE ay statements dhat-are inconsistent with ASCE MILE Loapenssibrligy ff tse

  

slelendints dlTanse(s, inching viclaiiens of conditions of ielaise ne ihe gummlasion fanny

whdi aera ubbenssl 2) pttor ta: SCIPAMCITIS, ihe iid States will be A ras bodlgaline ter make such

fenelier, Lo widilerar that fleaiien jPaltezdy mode, wil bt rescence, ee ee Curie diet Lee celeneai
Tk Tooele any res dluctiat [or we Cepkinoe oT respanigibiliy woller Seetion AL 1.1 atte Sumiencenp

Ptullabeel ves

By ‘The wetiendant save SHASTIONL iar This case yirior lo semening,

 

Case 2:20-cr-00051-RLJ-CRW Document 2 Filed 04/09/20 Page 4of8 PagelD #: 6
Pd

Fawancial Ybhiyswioms, The detimdaed nevees: ys fea sib Cress mul neatiluttion (pation
Hy the Coun Lathe Clerk ef Cour. Mig defendant also ayrees thal the SUD) Five dnefor reatitlian
Hoiountis} shal be cunsidered due amd paysite innmiadistels:, AY thie defiencltn| easel fio the dl)

enon] Ganesliately nd is placed in eastodly or under the supérviston ePue Probation Chilfea aq any

Ve; the lelissdant ayrses sha Ube Bureau of Prlyuryanel the Probatiids (Hee wall hove the

    

wiuhacty tecstahhsh payor sthedules to engutepeyeen af Hie Fine andéw-ruslilutiun, The

Hefendurl! Girther agrees Lo.cuiperate filly in ¢ffors to collect “aly Hane] Ghlizadon mpused by

  

thoCourl hy sein of federal puymerite. venti orr-neu-exenapl Prepenty, aad amy other medne

 

fet Latte Sees Aye sere iaeees Thos delete id pest aver ru bisey cewpue. abgea idice coos
the Minted States deems approprians, I ledetiidant and ooune alse were that the delemdint may

he eomtietad pod-juclemery| Tabard the eqdtesiian il emy Fuaueial eb lie alien inapese d by the:

Court without! notifying thedefendati’s counsel and aussie the presonceel ike defseylent’s counsel.

brorder to lacilitane tie collection al financial obligations to he imposed with (his griisoeanivin. the

Hifenclaiy garces de diselves Fully yU askeis in-whieh the detgnclied hay ay iiiecesl or weer ahi

  

tlie dofeicink exereises central, dipeetly oe indirectly, incluiing dhuse beled by a EPCS, TMT. gH

Sena

 

 

iiber third party, In furtherince.d/ this agreement, (he defendant additicoatly sarees eo che Talhiwas

epecitic len: aml conditions:

   

a) fst requested by cle. [Inited States. the defemdnns will promptly Sebi a

*6 fice: im lane f

 

“Lonnie

    

enitipletod Lssnetal stecement Jo ibe US:

prowinles and ag it directs “Thi detirilint premises tet such, finunéial

   

slaiemen iid disclosures wall be onmanlece, securate, and touch ful.
ay The chelirusia ta fireasly authrigns th & te Albarn? s Nee: tis wbinin a

eredit LETHAL ‘e1 Teves defendant in dutther trievadogd go thie eked ails aka} als! ua

 

sulistr Hrhy Cininenesial db lizeii ipmpicieal. bor tie.

Case 2:20-cr-00051-RLJ-CRW Document 2 Filed 04/09/20 Page 5of8 PagelD #: 7

 
 

Iso -Tequested by the lofted Stu, the delendatte will phar pry exes:

ee:

 

-aGberbeatiocy en Lorn piravided by the LB: Alone "s (ties to peri, ihe
LS. Adomeys Offee lo obtain finareia) and tay records at to deletion

Th Phe del@ndent ackaoywlecwes (han the principal bneliis a the Lanited States of a plen

   

agreement inshide the cumateystion i liited goweninvent resmdrces- and bringing.& cerinin end ba

 

fhetase, Accordiauly, tp consnieniiion of die-cnucessions mady by the Lint Sujnes in this

 

aercernent sind as Trtherdenmonsitation of the delendant uiceplanie af rexprinisibi lat, bor the
(itense(s| colmmuted, thadetindant vedomarly, knowiighy. aid inentionally asrees do the
[ia Lletaptinnge:

ai Pee wig binge teen gc) fussed 28 de ap tecaucs oad i WoT he cee tas
al Flee detendset will ioc file a dices appeal afthedeRneant’s convection vt

 

senience will one exgeption. “Tye delemlant retaiirs thé rishi we appeal a

semitetive impoxed abuyve ihe sentencing guiclel ate ra

 

ane vleterminend by the

Courlor abieve any tuandabeey enininun. sentence dened applicable te ihe

Conn, whichever fs avtater, The delendant wfsa waives Ibe rialie 1 appeal ie

ul

%

op

: Uetenviination as.10- whether The dedenduit’s sistdenees wil] be

fs

BGmscentiee tir penliall + egmietiiren| ie any ofbersenienee,
i} Phedelendant will oul ile ang: nuotiene de phéadine: purriurint fo BR ALAS,

$2285 or alhorvwise collaterally utiack dhe defendsnl's cometotion op sertsnoe.

  
  

ively dares Sule peo: Thats defenelan | notes (re tight iW Fle a é B55 rracitd eps

  

as lo [tT prostewional mnisvenduct and (i) ine fective susietance oT comnsel.
ah Nie defeidars iil] nel, wheiher directly or by d reprosenialive. peuuest or

five [romany deplromentier agence of fhe United Slaves ary pedals

 

fiotlaining ty ihe investigation or ptisecution af thus case. inchadling, witlaan

ay

Case 2:20-cr-00051-RLJ-CRW Document 2 Filed 04/09/20 Page 6of8 PagelD#: 8

 
linitatingy, any recetds that fay bé sen@ht imtder ihe Freed of Infineon

 

Sew the Provany Act af P97, § LSC. Seetiun 38

 

 

(ls Met-acrenmond bevomies effective waste dl fe stumied by the puvties and ist

ingset Tap dhe cittenclasil"s saemiry ala aut by tes: [the Linited Saies vinlytes: (hur lermig al this
fen agiernent. dhe détgnelant will he awe dle right Wy Withaors fen. ihe: areca WP du defender
vidas [Re terns of thds plea agreement in aie way deed nein Pail cet lined be falling io ermer:
oily phe s) wkdemeed heptio oorrvinw 10 wlthdraey sailly pleats babies entry. cr by viking ty
dase order wir any desi state ar Teter] daw pending ih resatuwion of (hig. case), uber the Lrailed.
SLES ow ‘il Have: the Hehe te vend ary cr all parts ef the Se eemicnk ah may de. entree Whaterser
mate! [he auereeien echoes, In adidition, the Lnited States Jniiy prosecuce de delisukiny fivg any

aiid sel]

   

dette that whe delkidant coummmilled tehted 10 1his ceive. Teluding ar gharsey | thest

 

Were stiissed and any wher charges which ihe United States aureed wel iy pursue. Thé che finda

 

shy wal vei amey statrite ol limitauons delinse und any constiintianul OF Steaaly inet ep Goulybes

jdrpards

 

dilense io sucka prosecution, ‘The detent, dace understands that a viiderten of ies ples
aL renner bry the defendant dhies oot entitle the defenslmt 4G withdraw Th debenilint's suiltr pteaty)
Ul thigusese,
12. ‘The Mritted Rtatésswill file a supplemene in tds corse. ae required tm every ease-hy the
[saved Roielew 00 (hs Linilert Stagen | Digteiia Grin. bie fhe Givtero Disiriet of Senmessce, even. altuuazh
Ihre driny cir may mel be amy adeitkanad terms. Wakditianal tenn are ined ado ia the aupplemenn
they ate. hershy filly inendyaralel] lereins,

[2 This plew pereenient ancl Sepp estes toe Perl) ated coomplete aereed ent meal

   

Hacberstamid Lose bettveart the partes comeciiine the defencanyt™s auilty pew ts the above-naferenaed

charie(s|, and there ure ano ove aye meemiends, prone, umadeckakines, ve Undlerstend ines hetiverd The

Case 2:20-cr-00051-RLJ-CRW Document 2 Filed 04/09/20 Page 7 of8 PagelD #: 9

 

 

 
 

elefiaydaris aml the | bitted Sunes, The panics underatind : and atree Chi the remus this prleat

sCpEMeSTTUST AL in ber rnodilied only it writing signed by

alk ofthe parties unl thet une anil all ther

promises, cepiesentations, at stalenienits whether mate helare, eonlemprnncou with, or alter this

aorsement ave nul) amd you.

a 25/2020.

Date

   

 

Toate

Viewed ZO, 2020

ule

“Tustin Teendsll I Om

J. DOUGLAS UVERBEY
UNITEDATATES ATTORALY

Ree bert Reeves
Assi starit [nihed Slates Altern iy

=
i ‘y f Ae rr
ol ¢

 

etentan,

 
 

Dan Siti
Alwwmey for Lhe. Detendane

Case 2:20-cr-00051-RLJ-CRW Document 2 Filed 04/09/20 Page 8of8 PagelD #: 10
